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                         UNITED STATES DISTRICT COURT
                                      DISTRICT OF COLORADO


        UNITED STATES OF AMERICA                       JUDGMENT IN A CRIMINAL CASE

                        v.                             Case Number: 05-cr-00342-REB-01
                                                       USM Number: 33487-013
             SHAWN C. SHIELDS
                a/k/a "Shorty"                         Richard D. Irvin, Appointed
                                                       (Defendant's Attorney)

THE DEFENDANT: Was found guilty on counts 1 and 2 of the Indictment after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
                                                                                       Offense
 Title & Section             Nature of Offense                                         Ended         Count
 18 U.S.C. § 371             Conspiracy to Retaliate Against a Witness                 05/23/05       1
 18 U.S.C.§§1513(b)(1)     Retaliation Against a Witness, Aiding and          05/23/05      2
 and 2                     Abetting
       The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence

is imposed pursuant to the Sentencing Reform Act of 1984.

         It is ordered that the defendant must notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must
notify the court and United States Attorney of material changes in economic circumstances.

        It is further ordered that the Addendum to this judgment, which contains the defendant's social
security number, residence address and mailing address, shall be withheld from the court file and
retained by the United States Probation Department.

                                                                          March 24, 2006
                                                                    Date of Imposition of Judgment

                                                               s/ Robert E. Blackburn

                                                                          Signature of Judge

                                                           Robert E. Blackburn, U.S. District Judge
                                                                        Name & Title of Judge

                                                               March 28, 2006

                                                                                Date
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                                            IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of One Hundred Twenty (120) months on each of Counts 1 and 2, to be
served concurrently with each other, for a total sentence of One Hundred Twenty (120) months, and to
be served consecutively to any previously imposed sentences, either in federal or state court.

        The defendant is remanded to the custody of the United States Marshal.




                                              RETURN


I have executed this judgment as follows:




        Defendant delivered on                           to

at                                 , with a certified copy of this judgment.




                                                                  UNITED STATES MARSHAL



                                                   By
                                                                 Deputy United States Marshal
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                                       SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of
three (3) years on Counts 1 and 2, to be served concurrently.

       The defendant must report to the probation office in the district to which he is released within 72
hours of his release from the custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state or local crime.

       The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
days of release from imprisonment and two periodic drug tests thereafter.

        The defendant shall not possess a firearm as defined in 18 U.S.C. § 921.

        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

      If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

        The defendant must comply with the standard conditions that have been adopted by this court
as well as any additional conditions on the attached page.

                           STANDARD CONDITIONS OF SUPERVISION

1)      The defendant shall not leave the judicial district without the permission of the court or
        probation officer.
2)      The defendant shall report to the probation officer as directed by the court or probation officer
        and shall submit a truthful and complete written report within the first five days of each month.
3)      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer.
4)      The defendant shall support his dependents and meet other family responsibilities.
5)      The defendant shall work regularly at a lawful occupation unless excused by the probation
        officer for schooling, training or other acceptable reasons.
6)      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment.
7)      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
        distribute, or administer any controlled substance, or any paraphernalia related to any controlled
        substance, except as prescribed by a physician.
8)      The defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed, or administered.
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9)      The defendant shall not associate with any persons engaged in criminal activity and shall not
        associate with any person convicted of a felony, unless granted permission to do so by the
        probation officer.
10)     The defendant shall permit a probation officer to visit him at any time at home or elsewhere and
        shall permit confiscation of any contraband observed in plain view by the probation officer.
11)     The defendant shall notify the probation officer within seventy-two hours of being arrested or
        questioned by a law enforcement officer.
12)     The defendant shall not enter into any agreement to act as an informer or a special agent of a
        law enforcement agency without the permission of the court.
13)     As directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant's criminal record or personal history or characteristics, and shall
        permit the probation officer to make such notifications and to confirm the defendant's
        compliance with such notification requirement.
14)     The defendant shall provide the probation officer with access to any requested financial
        information.

                          ADDITIONAL CONDITIONS OF SUPERVISION

        None.
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                                       MONETARY OBLIGATIONS

         The defendant must pay total monetary obligations under the schedule of payments set forth
below.

     Count                 Assessment                           Fine              Restitution
         1                       $100.00                       $0.00                $1,041.00
         2                       $100.00                       $0.00                     $0.00

  TOTALS                         $200.00                       $0.00                $1,041.00

        The defendant must make restitution to be paid from the registry of the court to the payee(s)
listed below. If the defendant makes a partial payment, each payee shall receive an approximately
proportioned payment, unless specified otherwise in the priority order or percentage payment column
below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
States is paid.

                                                                                                 Priority or
 Name of Payee                                  * Total Loss        Restitution Ordered          Percentage
 U.S. Marshal Service                                $1,041.00                  $1,041.00
 TOTALS                                              $1,041.00                  $1,041.00

       Interest on the restitution obligation will be waived, upon the court's finding that the defendant
does not have the ability to pay interest.




        * Findings for the total am ount of losses are required under Chapters 109A, 110, 110A, and 113A of Title
18, United States Code, for offenses com m itted on or after Septem ber 13, 1994 but before April 23, 1996.
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                                    SCHEDULE OF PAYMENTS

        Having assessed the defendant's ability to pay, payment of the total monetary obligations is due
as follows:

       The special assessment is due immediately.

      The restitution obligation shall be joint and several with similar obligations to pay restitution
imposed on Vernon W. Templeman, Docket Number 05-cr-00342-REB-02; Carl W. Pursley Jr., Docket
Number 05-cr-00342-REB-03; and Wendel R. Wardell Jr., Docket Number 05-cr-00342-REB-04.

       All monetary obligation payments, except those payments made through the Federal Bureau of
Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court, unless otherwise
directed by the court, the probation officer, or the United States Attorney.

        The defendant shall receive credit for all payments previously made toward any monetary
obligations imposed.

        Payments shall be applied in the following order: (1) special assessment, (2) restitution
principal.
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                                    STATEMENT OF REASONS

The court adopts the presentence report and advisory applications without change.

       Pursuant to the United States Supreme Court ruling in the United States v. Booker and United
       States v. Fanfan, the United States Sentencing Commission Guidelines have become advisory.
       The Court, while not bound to apply the Guidelines, has consulted the advisory guidelines and
       taken them into account with the sentencing factors identified at 18 U.S.C. § 3553(a).


ADVISORY GUIDELINE RANGE DETERMINED BY THE COURT (BEFORE DEPARTURES):

       Total Offense Level: 24

       Criminal History Category: VI

       Imprisonment Range: 100 to 120 months on each count

       Supervised Release Range: 2 to 3 years on each count

       Fine Range: $10,000 to $100,000

       The fine is waived because of the defendant's inability to pay.

The sentence is within the guideline range, that range does not exceed 24 months, and the
court finds no reason to depart.

RESTITUTION DETERMINATIONS

       Total Amount of Restitution: $1,041.00

        The court concludes that this statement of reasons for imposing a sentence in a criminal case is
presumptively a matter of public interest and scrutiny. See S. Rep. No. 225, 98th Cong., 1st Sess.
1983, 1984 U.S.C.C.A.N. 3182, 3263 (1983) ("The statement of reasons . . . informs defendant and the
public of the reasons for the sentence. It provides information to criminal justice researchers.") No
party has made a sufficient showing of "good cause," Fed R. Crim. P. 32(i)(4)(C), why it should not be
a matter of public record. Therefore, to facilitate systematic documentation of any decision concerning
departure, in compliance with 18 U.S.C.A. § 3553(c)(2), this statement of reasons shall be entered and
filed by the clerk as part of the judgment.
